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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

LUXOTTICA GROUP S.p.A., OAKLEY,
INC., and COSTA DEL MAR, INC.,                   Case No. 23-cv-08806

                       Plaintiffs,               Judge Matthew F. Kennelly

       v.                                        Magistrate Judge Jeffrey Cummings

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,
                       Defendants.


                      PLAINTIFFS’ EX PARTE MOTION TO
                 EXTEND THE TEMPORARY RESTRAINING ORDER

       Plaintiffs seek to extend the Temporary Restraining Order granted and entered by the

Court on September 18, 2023 [20], by a period of fourteen (14) days until October 16, 2023.

Such application is based upon this Motion and the concurrently filed Memorandum of Law.

Dated this 26th day of September 2023.    Respectfully submitted,

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